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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

Jay Connor,

Plaintiff, C/A No: 2:25-cv-371-JD-MGB
Vs.

Brookstone Funding Inc. and Kevin Pacheco
Individually

Defendants,

[PROPOSED] ORDER

AND NOW, upon review of Plaintiff Jay Connor’s Motion for Extension of Time to
Serve Defendants for sixty (60) days, it is hereby ORDERED that Plaintiff's Motion is

GRANTED; and the new service due date is July 21, 2025.

SO ORDERED, this day of 2025.
BY THE COURT:
MARY GORDON BAKER

UNITED STATES MAGISTRATE JUDGE
